

ORDER

PER CURIAM.
AND NOW, this 8th day of September, 2005, upon consideration of the Recommendation of the Three-Member Panel of the Disciplinary Board dated July 29, 2005, the Joint Petition in Support of Discipline *840on Consent is hereby granted pursuant to Rule 215(g), Pa.R.D.E., and it is
ORDERED that Timothy John Blatt is suspended on consent from the Bar of this Commonwealth for a period of six months, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
Respondent is further directed to make restitution of $1,733.00 to the law firm of Douglas &amp; Joseph and return the Sewin-sky file to the law firm within six months from the date of this Order.
It is further ORDERED that respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
